Case 1:20-cv-24801-JLK Document 83 Entered on FLSD Docket 08/27/2021 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 1:20-cv-24801-JLK

 CARLOS BRITO,

        Plaintiff,
 v.

 SVF KENDALL MIAMI, LLC;
 SUBWAY OF KENDALL, LLC;
 STARBUCKS COFFEE COMPANY;
 SERGIO’S RESTAURANT #5, INC;
 GYROVILLE NINE LLC;
 FIVE STAR FRANCHISES 107TH, LLC;
 CK KENDALL MALL, LLC; and
 ALMAOS INVESTMENTS, LLC.,

       Defendants.
 _____________________________/

            JOINT STIPULATION OF FINAL DISMISSAL WITH PREJUDICE

       Plaintiff, CARLOS BRITO, (“Plaintiff”), and Defendant, CK KENDALL MALL, LLC.,

 (“Defendant”), by and through undersigned counsel, and pursuant to Federal Rule of Civil

 Procedure 41(a)(1)(A)(ii), hereby STIPULATE AND AGREE that this matter has been settled

 and to the immediate dismissal of this action with prejudice, with each party to bear its own

 attorney’s fees and costs except as indicated in the settlement agreement.

       STIPULATED AND AGREED by Counsel for the Parties on the dates below written.
Case 1:20-cv-24801-JLK Document 83 Entered on FLSD Docket 08/27/2021 Page 2 of 2




 Respectfully submitted on August 27, 2021.


  /s/ Anthony J. Perez                            /s/ Alex B.C. Ershock
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  Email: ajperez@lawgmp.com                       Law.com
  Counsel for Plaintiff Carlos Brito              Counsel for Defendant CK Kendall Mall,
                                                  LLC
                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day of August 2021, I electronically filed the

 foregoing document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

 document is being served this day on all counsel of record or pro se parties identified on the Service

 List below in the manner specified, either via transmission of Notices of Electronic Filing

 generated by CM/ECF or in some other authorized manner for those counsel or parties who are

 not authorized to receive electronically Notices of Electronic Filing.

                                          SERVICE LIST

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